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AO 91 (Rev.        ) Criminal Complaint


                                          UNITED STATES DISTRICT COURT
                                                               for the
                                                  Eastern District of Michigan Case: 2:23−mj−30377

United States of America                                                                Assigned To : Unassigned
   v.                                                                                   Assign. Date : 9/15/2023
                                                                                        Description: RE: SEALED MATTER
                                                                           Case No.
                                                                                        (EOB)
Kenneth Edward CUMMINGS




                                                    CRIMINAL COMPLAINT

           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

           On or about the date(s) of               September 9, 2023              in the county of               Wayne       in the
         Eastern           District of       Michigan      , the defendant(s) violated:
                    Code Section                                           Offense Description

18 U.S.C. 922(g)(1)                                     Felon in possession of a firearm




           This criminal complaint is based on these facts:




        Continued on the attached sheet.
                                                                                           Complainant’s signature

                                                                        Task Force Officer Terry Cross-Nelson - ATF
                                                                                            Printed name and title
Sworn to before me and signed in my presence


              September 15, 2023
Date:                                                                                         Judge’s signature

City and state: Detroit, Michigan                                       Honorable Anthony P. Patti,   U.S. Magistrate Judge
                                                                                            Printed name and title
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                            AFFIDAVIT IN SUPPORT OF
                             CRIMINAL COMPLAINT

      I, Task Force Officer Terry Cross-Nelson, being duly sworn, hereby state as

follows:

              I.   INTRODUCTION AND AGENT BACKGROUND

      1.      I am a Police Detective with the City of Detroit and have been a member

of the Detroit Police Department (DPD) since November 2002. I was promoted to the

rank of Detective in August 2014. I have been a member of the DPD’s Firearms

Investigation Team (FIT) since December 2022. FIT is a Federal partnership between

the DPD and the Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF). During

my experience as a DPD Detective and a Task Force Officer, I have investigated

numerous firearm cases, including but not limited to felon in possession of a firearm.

      2.      I make this affidavit from personal knowledge based on my participation

in this investigation. The information comes from witnesses interviewed by law

enforcement, communications with others who have personal knowledge of the events

and circumstances described herein, and information gained through my training and

experience.

      3.      This affidavit is for the limited purpose of establishing probable cause that

Kenneth CUMMINGS (DOB: xx/xx/1967) has violated 18 U.S.C. § 922(g)(1), felon

in possession of a firearm, and does not contain all details or facts known to law

enforcement related to this investigation.
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                            II.   PROBABLE CAUSE

      4.     I reviewed a computerized criminal history, Michigan Third Circuit

Court records, and Eastern District of Michigan records for CUMMINGS, which

revealed the following felony arrests and convictions.

             a. On November 18, 2003, CUMMINGS was found guilty in Wayne

                County 3rd Circuit Court of Felony Home Invasion 1 st Degree.

                CUMMINGS was sentenced to 4 months confinement and 18 months

                of probation.

             b. On June 29, 2006, CUMMINGS pled guilty to Felon in Possession of

                a Firearm, in violation of 18 U.S.C. § 922(g)(1), in Case No. 2:05-cr-

                80959 (E.D. Michigan). On December 20, 2006, Judge Tarnow

                sentenced CUMMINGS to a 57-month term of imprisonment,

                followed by two years of supervised release.

             c. On July 01, 2021, CUMMINGS pled guilty in Oakland County 6 th

                Circuit Court to Operating While Intoxicated/3rd Offense Notice.

                CUMMINGS was sentenced to 1,468 days in jail following by 2

                years of probation.

      5.     Because CUMMINGS has been convicted of multiple felony offenses,

has served a significant period of incarceration as a result of those convictions, and




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was sentenced for a felony as recently as 2021, there is probable cause to believe that

CUMMINGS is aware of his status as a convicted felon.

      6.     On September 9, 2023, DPD Police Officers were on patrol in the area of

W. Buena Vista and La Salle Blvd in Detroit when they came across a group of

individuals that appeared to be drinking and were loitering in the middle of the street.

      7.     As the officers’ patrol car approached the group, both officers observed

a black male, later identified as CUMMINGS, who had a revolver tucked into his

waistband on the right side of his body, in plain view.

      8.     Officers got out of the car and approached CUMMINGS—they could

see the revolver sticking out of his waistband, still in plain view. One officer asked

CUMMINGS if he had a concealed pistol license, to which CUMMINGS stated

“No.” The other officer then removed the firearm from CUMMINGS’ waistband,

while the first officer placed CUMMINGS in handcuffs. The firearm was identified

as a Colt Python, .357 revolver, serial number 25421E. Officers also recovered six

live rounds from the firearm.

      9.     The officers then confirmed via LEIN that CUMMINGS did not have a

concealed pistol license. CUMMINGS was arrested and conveyed to the Detroit

Detention Center for housing and processing.

      10.    On September 13, 2023, I contacted ATF Interstate Nexus Expert

Special Agent Kara Klupacs, and provided a verbal description of the Colt Python,

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.357 revolver recovered from CUMMINGS on September 9, 2023. SA Kara Klupacs

advised the firearm was manufactured outside of the State of Michigan, and therefore

has traveled in and affected interstate commerce.

                            III.   CONCLUSION

      11.    Based upon the aforementioned facts, there is probable cause to believe

Kenneth CUMMINGS (B/M; DOB: XX/XX/1967), a convicted felon aware of his

felony convictions, did knowingly and intentionally possess a Colt Python, .357

revolver, said firearm having affected interstate commerce, in violation of 18 U.S.C.

922(g)(1) (felon in possession of a firearm). Said violation occurring on or about

September 9, 2023, in the city of Detroit, in the County of Wayne, in the Eastern

Judicial District of Michigan.

                                          Respectfully submitted,


                                          Terry Cross-Nelson
                                          Task Force Officer, ATF


Sworn to before me and signed in my presence
and/or by reliable electronic means.

_________________________________

Hon. David R. Grand
United States Magistrate Judge

Dated: September 15, 2023


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